          Case 8:22-cv-02422-TDC Document 14 Filed 10/01/22 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

 Joe Johnson,

         Plaintiff,
                                                      Case No.: 8:22-cv-02422-TDC
 v.
                                                      Hon. Theodore D. Chuang
 Think Computer Corporation
        d/b/a PLAINSITE,

         Defendant.


                CERTIFICATE OF COMPLIANCE WITH REQUIREMENT
                         TO GIVE NOTICE OF REMOVAL
                               (28 U.S.C. § 1446(d))

       The undersigned attorney of record for Think Computer Corporation certifies that, in

compliance with 28 U.S.C. § 1446(d), a copy of the Notice of Removal and Amended Notice of

Removal of this action was filed with the Clerk of the Circuit Court of Prince George’s County,

Maryland in case. no. CAL22-21998 on September 30, 2022.

       The undersigned further certifies that, in compliance with the requirements of 28 U.S.C. §

1446(d), written notice of the removal was also given to all parties in this action, along with a copy

of the Notice of Removal and Amended Notice of Removal filed in this court. Said written notice

was given on September 30, 2022 to the plaintiff in this action by first class mail (certified, pre-

paid) and by email (with written consent of plaintiff).


 October 1, 2022                                   ___/s/______________________________
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Case 8:22-cv-02422-TDC Document 14 Filed 10/01/22 Page 2 of 2



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